          Case 2:22-cv-01222-DJH Document 6 Filed 07/22/22 Page 1 of 2



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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Devi Cooper,                                      No. CV-22-01222-PHX-DJH
10                  Plaintiff,                         ORDER
11   v.
12   Unknown Party, et al.,
13                  Defendants.
14
15           This matter having recently come before the Court,
16           IT IS ORDERED that a motion pursuant to Federal Rule of Civil Procedure 12(b)

17   is discouraged if the defect can be cured by filing an amended pleading. Therefore, the
18   parties must meet and confer prior to the filing of a motion to dismiss to determine

19   whether it can be avoided. Consequently, motions to dismiss must be accompanied by a

20   notice of certification of conferral indicating that the parties have conferred to determine
21   whether an amendment could cure a deficient pleading and have been unable to agree that
22   the pleading is curable by a permissible amendment. Motions to dismiss that do not

23   contain the required certification are subject to be stricken on the Court’s motion.

24           IT IS FURTHER ORDERED the parties shall endeavor not to oppose motions to

25   amend that are filed prior to the Rule 16 Scheduling Conference or within the time set

26   forth in the Rule 16 Scheduling Order. A motion to amend filed prior to the Rule 16
27   Scheduling Conference must state the position of each other party. If the moving party's
28   efforts to determine the position of any other party are unsuccessful, a statement to that
       Case 2:22-cv-01222-DJH Document 6 Filed 07/22/22 Page 2 of 2



 1   effect must be included in the motion or stipulation.
 2          IT IS FURTHER ORDERED that Plaintiff(s) shall serve a copy of this order
 3   upon any Defendants who have not yet appeared and file notice of service.
 4          IT IS FURTHER ORDERED directing any party appearing pro se to become
 5   familiar with the Local Rules and the Federal Rules of Civil Procedure. Such parties are
 6   advised of the free Self-Service Clinic at the courthouse. For information on the free
 7   clinic and the Handbook for Self-Represented Litigants, visit the Court’s internet site at:
 8   www.azd.uscourts.gov. Proceed to the box entitled Information for Those Proceeding
 9   Without an Attorney and then the link entitled Federal Court Self-Service Clinic-Phoenix.
10          Dated this 22nd day of July, 2022.
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13                                                 Honorable Diane J. Humetewa
14                                                 United States District Judge

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